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                          United States District Court
                          Southern District of Texas
                               Victoria Division
STATE OF TEXAS, et al.,
   Plaintiffs,
v.
                                                  Case 6:23-cv-00007
U.S. DEPARTMENT OF H OMELAND
  SECURITY, et al.,
   Defendants.

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     Defendants respectfully request that the Court extend the schedule in this

case by 30 days to accommodate discovery that will be substantially broader

and more burdensome than Defendants anticipated at the time the schedule

was entered.

     On March 6, 2023, the Parties submitted a Joint Advisory Regarding

Proceedings that set out a proposed schedule for this case, including proposed

deadlines for discovery. That proposed schedule was submitted after the

Parties had conferred and Plaintiffs had provided Defendants with a draft of

the discovery requests they intended to serve. Defendants’ agreement to the

proposed dates was based on the limited nature of the discovery Plaintiffs had

initially represented that they would be seeking, which was limited to standing

and remedy, and limited to the State of Texas.

     On March 22, 2023, the Court entered a schedule that set a deadline of

April 28, 2023 for the Parties to produce any extra-record discovery if discovery

was subsequently approved by the Court. ECF No. 90 at 3. The Court further

set deadlines of March 24, 2023 for the Parties to file any motions for extra-

record discovery, and March 31, 2023 for the Parties to file responses to those

motions.
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    On March 24, 2023, Plaintiffs filed their motion for extra-record discovery.

Plaintiffs’ motion sought substantially broader discovery than they had

proposed when the Parties negotiated the schedule. For example, Plaintiffs

added five additional requests for production, three new interrogatories, and

two new requests for admission. See ECF No. 102-1. In addition, while

Plaintiffs’ initial proposal on discovery was limited to Texas, Plaintiffs

expanded the scope of many of their requests to seek information for every

Plaintiff State. Plaintiffs further added requests for discovery related to the

merits of their claims, even though review of the merits of claims under the

Administrative Procedure Act are generally limited to the administrative

record (which Defendants have produced and filed with the Court). And, while

Defendants raised various arguments as to why much of the discovery

Plaintiffs seek is improper in this case, see ECF No. 120, the Court granted

Plaintiffs’ motion for discovery in full, see ECF No. 126.

    These changes in the scope of discovery have substantially changed the

amount of data Defendant agencies need to pull and review in order to

determine whether responsive information or documents can be produced. The

current timeline provides only 21 days between April 7, 2023, when the Court

granted Plaintiffs’ motion for discovery in full, and April 28, 2023, the
previously established date to provide responses and produce discovery. While

Defendant agencies have been preparing to respond to the earlier set of

discovery requests Plaintiffs proposed at the time the schedule was set, which

were limited to discovery on standing and remedy and further limited to Texas,

given the much broader discovery Plaintiffs now seek and the limited number

of people at Defendant agencies who can search for responsive information, it

will take longer than 21 days for Defendants to determine whether they can

provide responses or answers to many of the new requests, and, as appropriate


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conduct a search for responsive information. Even once a search for responsive

information has been completed, additional time will still be required to

conduct the analysis and review necessary to provide answers, confirm

responsiveness, and review for privileged information before responding to the

discovery requests.

    Accordingly, Defendants respectfully request that the Court extend the

deadline to produce extra-record discovery by 30 days from April 28, 2023 to

May 30, 2023, and to similarly extend all remaining deadlines by 30 days as

well, so that the Parties’ briefing and additional proceedings can address the

discovery that is exchanged.

      There is good cause for this extension to allow what will ultimately still

be a highly expedited seven-week discovery period to first fully develop the

record before proceeding with further briefing and trial. The Court has

consolidated Plaintiffs’ motion for preliminary injunction with consideration of

the merits under Rule 65(a)(2). Under Rule 65, consolidation is appropriate

only if it permits the Parties a full and fair opportunity to present their

respective cases. See Wright & Miller, § 2950 Relationship of the Preliminary

Injunction Hearing to the Trial on the Merits, 11A Fed. Prac. & Proc. Civ.

§ 2950 (3d ed.) (collecting cases). Courts have held that it is improper to rush
a case to trial if it prevents the parties from having adequate time to complete

discovery and prepare their case. Id.; Univ. of Texas v. Camenisch, 451 U.S.

390, 395 (1981); Dillon v. Bay City Const. Co., 512 F.2d 801, 804 (5th Cir. 1975)

(holding that district court abused its discretion in proceeding to a trial on the

merits under Rule 65 and preventing party from fully presenting its case by

denying it time to conduct discovery it was entitled to under the federal rules);

Paris v. U.S. Dep’t of Hous. & Urb. Dev., 713 F.2d 1341, 1346 (7th Cir. 1983)

(finding consolidation inappropriate where it prejudiced defendant agency by


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preventing defendant from having sufficient time to complete discovery and

assemble administrative record). “[R]ushing cases to trial within three months

of the filing of the first answer severely prejudices the ability of parties to

prepare their cases” and “adequate time must be allowed for discovery of the

facts and assembly of the proof.” Martel v. Cty. of Los Angeles, 34 F.3d 731, 737

(9th Cir. 1994), opinion withdrawn and superseded on reh'g on other grounds,

56 F.3d 993 (9th Cir. 1995) (quoting Freehill v. Lewis, 355 F.2d 46, 48 (4th Cir.

1966)).

      Many of the deadlines the Court has currently set will be difficult if not

impossible to fully comply with if the discovery deadline is not extended and

there are outstanding issues with discovery after April 28, 2023. The Parties

will not be able to fully address the evidence in the remaining briefing on the

Motion for Preliminary Injunction, the Exhibit Lists, motions in limine to

exclude evidence, or proposed findings of fact if there are outstanding discovery

issues at the times those filings are currently due. Given the expanded scope

of Plaintiffs’ discovery requests, additional time is needed both to complete that

discovery and to provide a fair opportunity to provide the other briefing the

Court has ordered after discovery is complete, rather than at the same time as

dealing with outstanding discovery issues.
      Extending the briefing schedule and the trial date will also have the

added benefit of increasing the chances that the Supreme Court will resolve

United States v. Texas, No. 22-40367 (argued Nov. 29, 2022), before this Court

must resolve as part of this case a number of issues on which the Supreme

Court may soon provide guidance. Among other things, the Supreme Court

may address the requirements of State standing to challenge federal

immigration    policy, jurisdictional    bars   in   8   U.S.C.   § 1252(f)   and




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§ 1252(a)(2)(B)(ii) that Defendants also anticipate raising in this case, and

limits on the scope of relief in immigration actions under the APA.

      The Parties conferred on this motion on April 12 and 14, 2023, and

Plaintiffs oppose this motion with the exception of proposing as an alternative

a two-week extension for Defendants to provide responsive documents. That

alternative proposal would not address the concerns above for several reasons.

First, the Defendant agencies have represented that they need at a minimum

an additional 30 days to determine whether they can provide responses or

answers to many of the new requests and conduct a search for responsive

information. A two-week extension will provide inadequate time to complete

that task. Second, Plaintiffs alternative proposal would not extend the

deadline to provide objections to discovery requests or answers to requests for

admission, requiring Defendants’ to provide objections and answers without

complete knowledge of what issues might arise with the discovery requests as

the search for responsive information continues. Finally, this proposal does not

thing to address the problem of discovery disputes potentially overlapping with

subsequent deadlines for filing that will need to address the full universe of

discovery that is ultimately provided.

      Accordingly, Defendants move to extend the remaining schedule in this
case as follows:

1.     No later than May 30, 2023, the Parties shall produce any extra-record

       discovery.

2.     The Defendants shall file their response in opposition to the Motion for

       Preliminary Injunction, (Dkt. No. 22), no later than June 12, 2023.

3.     The Plaintiffs shall file their reply in support of their Motion for

       Preliminary Injunction no later than June 20, 2023.




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4.    The Parties may submit additional affidavits or declarations after June

      20, 2023, however, those affidavits or declarations shall be limited to

      supplementing previously filed affidavits or declarations.

5.    No later than June 26, 2023:

      a. Plaintiffs shall file an Exhibit List identifying any affidavits,

          declarations,   or   documentary      evidence,    other   than    the

          administrative record, that they may wish the Court to consider,

          including any documents they may seek to introduce through live

          testimony.

          Plaintiffs are not required to identify documents they may

          potentially rely upon in cross-examination for purposes of

          impeachment.

          Plaintiffs shall produce courtesy copies to the Court and the

          Defendants of the proposed Exhibits but shall not file them.

          No amendments shall be made to the Exhibit List after this date

          without good cause unless the Parties agree.

      b. Plaintiffs shall file a Witness List identifying any witness they seek

          to call for live testimony at trial. For each witness, Plaintiffs shall

          provide the topics and scope of the expected testimony. Plaintiffs

          may re-call any of their witnesses in rebuttal to Defendants’

          witnesses’ testimony.

          No amendments shall be made to the Witness List after this date

          without good cause unless the Parties agree.

6.    No later than July 3, 2023:

      a. Defendants shall file an Exhibit List identifying any affidavits,

          declarations,   or   documentary      evidence,    other   than    the

          administrative record, that they may wish the Court to consider,


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          including any documents they may seek to introduce through live

          testimony.

          Defendants are not required to identify documents they may

          potentially rely upon in cross-examination for purposes of

          impeachment.

          Defendants shall produce courtesy copies to the Court and the

          Plaintiffs of the proposed Exhibits except for the Administrative

          Record but shall not file them.

          No amendments shall be made to the Exhibit List after this date

          without good cause unless the Parties agree.

      b. Defendants shall file a Witness List identifying any witness they

          seek to call for live testimony at trial. For each witness, Defendants

          shall provide the topics and scope of the expected testimony.

          No amendments shall be made to the Exhibit List after this date

          without good cause unless the Parties agree.

7.    No later than July 5, 2023, the Parties shall file any motions to exclude

      evidence or witnesses. These motions are without prejudice to

      objections at trial to particular testimony or particular uses of a piece

      of evidence and are apart from any argument about extra-record

      evidence.

8.    No later than July 7, 2023, the Parties shall separately submit proposed

      findings of fact and conclusions of law. Each party must specify all

      proposed findings it anticipates establishing at trial. To the extent

      possible in advance of trial, the proposed findings should cite deposition

      or declaration testimony, expected witness testimony, exhibits, or other

      evidence to support each proposed finding. Parties shall specify

      stipulated or agreed facts.


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9.    No later than July 10, 2023, the Parties shall file responses to any

      motion to exclude evidence.

10.   The Parties shall appear in-person for a Final Pretrial Conference on

      July 12, 2023, at 1:00 p.m. in Victoria, Texas. The Court may address

      pending motions and objections and pre-mark and pre-admit exhibits.

      a. Trial shall begin on July 13, 2023, at 9:00 a.m. in Victoria, Texas.

      b. No later than July 31, 2023, the Parties shall file Proposed Findings

         of Fact and Conclusions of Law with citations to the record from

         trial. If the Parties wish to file any post-trial memoranda of law,

         they must do so no later than this date.




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Dated: April 14, 2023            Respectfully submitted,


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                       C ER T IF ICAT E   OF   S ER VICE
    I certify that on April 14, 2023, I filed this motion through the Court’s

CM/ECF system, which served it on all counsel of record.

                                                /s/ Erin T. Ryan
                                                ERIN T. RYAN
                                                U.S. Department of Justice




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